      Case 11-68628-sms         Doc 95     Filed 07/30/18 Entered 07/30/18 13:11:21                 Desc Order
                                          Vacating Order Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION


In     Wayne Lee Brewster                                )
Re:    55 Oakmont Lane                                   ) Case No.: 11−68628−sms
       Covington, GA 30016                               ) Chapter: 7
                                                         )
       xxx−xx−6199                                       )
                                                         )
       Marlene Williams Brewster
       55 Oakmont Lane
       Covington, GA 30016

       xxx−xx−2921

       Debtor(s)



                                           ORDER VACATING ORDER


    On July 30, 2018, the Clerk issued an order entitled Order Dismissing Ch. 7 Case for Joint Debtor − Failure to
Appear at Meeting of Creditors in error. Accordingly, it is hereby

      ORDERED that the Order Dismissing Ch. 7 Case for Joint Debtor − Failure to Appear at Meeting of Creditors
entered July 30, 2018 is hereby VACATED in its entirety.

      The Clerk is directed to serve a copy of this Order upon Debtor, Debtor's Counsel, if any, the Trustee, and any
parties in interest.

SO ORDERED, ON July 30, 2018.




                                                           UNITED STATES BANKRUPTCY JUDGE



Dated: July 30, 2018
Form orvacor −11/2016
